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16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                      OAKLAND DIVISION
19    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
20                                      )
                                        )
21                    Plaintiffs,       )             LOCAL RULE 79-5(F)(3) STATEMENT
                                        )             IN RESPONSE TO DEFENDANTS’
22           v.                         )             ADMINISTRATIVE MOTION TO
                                        )             CONSIDER WHETHER ANOTHER
23    NSO GROUP TECHNOLOGIES LIMITED )                PARTY’S MATERIAL SHOULD BE
      and Q CYBER TECHNOLOGIES LIMITED, )             FILED UNDER SEAL
24                                      )
                                        )             Ctrm:    3
25                    Defendants.       )             Judge:   Hon. Phyllis J. Hamilton
                                        )
26                                      )             Action Filed: 10/29/2019
                                        )
27                                      )
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2            Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this response to the Administrative

 4   Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal (the “Adminis-

 5   trative Motion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies

 6   Limited (“NSO”). Dkt. No. 345. The Administrative Motion identifies Exhibit D to the Supple-

 7   mental Declaration of Aaron Craig in Support of NSO’s Surreply Re Motion to Compel Discovery

 8   Regarding AWS Server (the “Supplemental Craig Declaration”), Dkt. Nos. 345-4, Ex. D, as refer-
 9   encing or containing materials designated as “Highly Confidential – Attorneys’ Eyes Only” by Plain-
10   tiffs.
11            Plaintiffs request that the Court keep Exhibit D to the Supplemental Craig Declaration under
12   seal, and do so pursuant to Local Rules 79-5(c) and (d). Exhibit D comprises or refers to materials
13   that have been designated and produced in discovery as “Highly Confidential – Attorney’s Eyes
14   Only” pursuant to the August 31, 2020 Stipulated Protective Order, Dkt. No. 132. Exhibit D is a
15   confidential communication among Plaintiffs’ employees responding to NSO’s attacks described in
16   the complaint, which reflects Plaintiffs’ business strategy, sensitive code for their products, and strat-
17   egy for responding to regulators. See Dkt. No. 345-4, Ex. D.
18            The appropriate standard for sealing here is “good cause.” Exhibit D is attached to NSO’s

19   motion regarding discovery from a nonparty—a non-dispositive motion that only tangentially relates

20   to the case—so the moving party need only show “good cause” for why the documents should remain

21   under seal. Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar.

22   8, 2013) (Hamilton, J.). “Good cause” requires only “a particularized showing” that sealing is ap-

23   propriate, which “will suffice to seal documents produced in discovery.” Kamakana v. City & Cty.

24   of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006); see also Ctr. for Auto Safety v. Chrysler Grp.,

25   LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule 26(c) as an

26   exception for discovery-related motions makes sense, as the private interests of litigants are ‘the only

27   weights on the scale.’” (quoting Kamakana, 447 F.3d at 1180)).

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION TO CONSIDER
     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
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 1          Plaintiffs easily meet the applicable good-cause standard here. Courts have routinely held

 2   that confidential business information or information subject to confidentiality obligations satisfies

 3   the compelling reasons standard, which is far more “exacting” than the good-cause standard applica-

 4   ble here. Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023) (granting

 5   plaintiff’s renewed sealing motion with respect to information including “confidential financial in-

 6   formation and projections,” “confidential business strategy information,” and “internal decisionmak-

 7   ing processes”); see also In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 2015

 8   WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (permitting sealing records where the records related
 9   “to confidential business plans and operations,” were “subject to a contractual duty of confidential-
10   ity,” and where “harm could result to [the parties’] business operations” if the information were
11   prematurely disclosed); In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017)
12   (concluding that the parties established compelling reasons to file under seal records that implicate
13   “confidential business information” subject to confidentiality agreements). Publicly disclosing these
14   materials would risk harm to Plaintiffs’ business and would provide competitors an unfair advantage
15   by providing access to internal business deliberations. This harm could not be mitigated by any
16   means less restrictive than sealing.
17          For the foregoing reasons, Plaintiffs request that the Materials that NSO submitted or refer-
18   enced remain under seal. This request is narrowly tailored to only sealable material (as identified by

19   the proposed redactions in the Administrative Motion).

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 1    Dated: July 26, 2024                        Respectfully Submitted,

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18                                                         Meta Platforms, Inc.
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